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                    VIA E-FILING

                    The Honorable Carl L. Bucki
                    United States Bankruptcy Court
                    Western District of New York
                    Robert H. Jackson, U.S.
                    Courthouse
                    2 Niagara Square
                    Buffalo, NY 14202

                                Re:     In re. The Diocese of Buffalo, N.Y.
                                        Case No. 20-10322 (CLB)

                    Dear Judge Bucki:

                            On October 23, 2023, the Diocese filed the Motion For Entry
                    of an Order Pursuant to 11 U.S.C. § § 105(a) and 362(a) Enjoining
                    the Prosecution of Certain State Court Lawsuits [Docket No. 289]
                    (the “Motion”). An evidentiary hearing on the Motion is scheduled
                    for November 28, 2023 (the “Hearing”). By this letter, the
                    Committee requests that the Court decline to hear testimony in
                    support of the Motion that was first disclosed to the Committee after
                    close of business on Friday.

                           The Twelfth Notice of Extension of the Agreed Stipulation
                    Staying the Prosecution of Certain Lawsuits [Docket No. 284]
                    expired on September 30, 2023. Thereafter, the Diocese filed its
                    Motion and scheduled the Hearing. The Diocese, represented by
                    highly experienced counsel, filed declarations of James R. Murray
                    and Melissa Potzler in support of the Motion. The Motion also
                    references a declaration of John M. Scholl filed in support of the
                    Diocese’s first day filings.

                            The Committee recognizes that survivors have waited more
                    than three and a half years for justice in this Diocese and that every
                    day without resolution causes further trauma to survivors. Given the
                    November 28 Hearing (and the Thanksgiving holiday), the


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                    Committee agreed to file its opposition papers no later than
                    November 21, 2023. The Committee promptly sought discovery by
                    issuing demands for written discovery and notices of deposition for
                    Mr. Murray, Mr. Scholl and Ms. Potzler. The Committee and
                    Diocese were able to stipulate to facts sufficient to avoid the
                    deposition of Mr. Murray and on November 15 and 16 the
                    Committee deposed, respectively, Ms. Potzler and Mr. Scholl.
                    Following the deposition of Mr. Scholl on November 16 (off the
                    record), the Diocese informed the Committee that it was
                    “considering” calling an additional witness at the Hearing. The
                    Committee immediately expressed a negative reaction to a new
                    witness being proposed after deposition discovery had been
                    concluded.

                            At 5:16 p.m. prevailing Eastern Time on Friday, November
                    17, the Diocese first informed the Committee that it intends to call
                    Mr. Rick Suchan, the Diocese’s Chief Operating Officer, as a
                    witness at the Hearing. The Diocese did not provide a declaration of
                    Mr. Suchan in support of the Motion, an outline or overview of his
                    proposed testimony, or any indication of how Mr. Suchan’s
                    testimony will differ from Ms. Potzler’s or Mr. Scholl’s (except
                    perhaps for having the benefit of being coached on the questions that
                    were asked of the other two witnesses in the depositions). Nor did
                    the Diocese explain why this additional testimony was necessary or
                    why it was only presented at the last minute. Committee has not had
                    an opportunity to depose Mr. Suchan and will not in the four
                    business days remaining prior to the hearing.

                            The Diocese and its counsel are clearly aware of the
                    Diocese’s burden to sustain the Motion. It controlled its witness
                    selection and the topics of their testimony. It could have submitted a
                    supporting declaration by Mr. Suchan or disclosed an intent to call
                    him as a witness at the time it filed the Motion. The Diocese didn’t
                    do so. Instead, the Diocese engaged in rank gamesmanship by
                    holding Mr. Suchan back so that Committee counsel would not have
                    an opportunity to depose him before the Hearing.

                             The Diocese’s last-ditch effort to fill evidentiary holes that
                    its initial witnesses have left after their deposition should not be
                    allowed to prejudice the Committee by either delaying the hearing
                    or allowing the witness to testify without having gone through the
                    same procedural and evidentiary safeguards through which the


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                    Diocese’s declarants have passed. Depositions allow parties to
                    streamline cross-examinations of witnesses, while cross-
                    examination of undisclosed witnesses is likely to take far longer.

                           The Committee therefore requests that the Court prohibit the
                    Diocese from calling additional witnesses beyond its three
                    declarants: Mr. Murray, Ms. Potzler, and Mr. Scholl.

                                                     Respectfully submitted,

                                                     /s/Ilan D. Scharf

                                                     Ilan D. Scharf




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